                    IN THE SUPREME COURT OF NORTH CAROLINA

                                         2021-NCSC-77

                                          No. 276A20

                                      Filed 18 June 2021

     IN THE MATTER OF: T.A.M., K.R.M.

           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from orders entered on 9 March

     2020 by Judge Susan M. Dotson-Smith in District Court, Buncombe County. This

     matter was calendared for argument in the Supreme Court on 19 March 2021 but

     was determined on the record and briefs without oral argument pursuant to Rule

     30(f) of the North Carolina Rules of Appellate Procedure.


           Hanna Frost Honeycutt for petitioner-appellee Buncombe County Department
           of Social Services; and William A. Blancato for respondent-appellee Guardian
           ad Litem.

           Edward Eldred for respondent-appellant father.

           Peter Wood for respondent-appellant mother.


           BARRINGER, Justice.

¶1         Respondent-mother Lauren S. and respondent-father Wesley M. appeal from

     orders entered by the trial court terminating their parental rights in their minor

     children T.A.M. and K.R.M.1 Respondent-father challenges the trial court’s decision

     to grant his appointed counsel’s motion to withdraw whereas respondent-mother



           1 T.A.M. and K.R.M. will be referred to throughout the remainder of this opinion as

     “Tam” and “Kam,” which are pseudonyms that are used to protect the identities of the
     juveniles and for ease of reading.
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     challenges the trial court’s determination that it was in Tam and Kam’s best interests

     to terminate her parental rights. Since we conclude that the trial court did not abuse

     its discretion in any issue raised by the parents’ appeals, we affirm the trial court’s

     termination-of-parental-rights orders.

                                 I.     Factual Background

¶2         On 15 August 2016, the Buncombe County Department of Social Services

     (DSS) received a pair of child protective services (CPS) reports alleging that

     respondent-mother had just given birth to Tam, that she had been using drugs during

     her pregnancy, and that she had been homeless and living in her automobile

     immediately prior to giving birth. In addition, the reports alleged that both parents

     had a history of substance abuse and domestic violence and had recently been

     arrested on drug-related charges. On 17 August 2016, DSS received another CPS

     report that restated the allegations contained in the prior report and asserted that

     respondent-mother    suffered from       untreated mental health problems, that

     respondent-father was consuming illegal substances, and that respondent-mother

     had previously lost custody of another child as the result of substance abuse

     problems.

¶3         A social worker assigned to investigate these reports learned from the staff of

     the hospital at which respondent-mother gave birth to Tam that respondent-mother

     had tested positive for THC and unprescribed Oxycodone, and that Tam’s cord
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     toxicology screen had been positive for the presence of marijuana and opiates. In

     addition, the hospital staff told the social worker that respondent-mother tested

     positive for methamphetamine in June 2016. Respondent-mother admitted that she

     had been smoking marijuana during her pregnancy, that she suffered from mental

     health problems, and that she was diagnosed with borderline personality disorder.

     However, respondent-mother denied that she had consumed other unlawful

     substances or had been involved in incidents of domestic violence with respondent-

     father.

¶4         Respondent-father, on the other hand, denied all the allegations that had been

     made in the CPS reports. Finally, the social worker interviewed another social worker

     who had worked with the parents at an earlier time. The previous social worker

     confirmed that she had seen bruises that respondent-father inflicted upon

     respondent-mother on more than one occasion; that neither parent satisfied the

     requirements set out in their case plans, which required them to complete substance

     abuse treatment, mental health treatment, and domestic violence classes; and that

     respondent-mother acknowledged a history of domestic violence that respondent-

     father perpetrated against her.

¶5         After Tam was placed in a safety care placement, the parents agreed to comply

     with a safety plan, which required them to participate in supervised visitation; obtain

     substance abuse treatment; have no contact with each other in Tam’s presence; and
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     consent to follow-up medical care, the assistance of a home health nurse, and the

     provision of pediatric care for Tam. In addition, respondent-father agreed to complete

     an anger management program.

¶6         According to a substance abuse assessment that respondent-mother obtained,

     respondent-mother had a severe substance abuse problem, with the assessing agency

     recommending that respondent-mother participate in therapy due to her “lack of

     desire or capacity to get clean.” The assessing agency also recommended that

     respondent-mother undergo intensive outpatient therapy and participate in

     parenting education and domestic violence classes. Furthermore, the assessing

     agency concluded that respondent-mother had significant mental health problems

     that hindered her ability to care for a child and diagnosed respondent-mother as being

     bipolar and suffering from borderline personality disorder, severe opiate use disorder,

     and moderate cannabis use disorder.

¶7         After the completion of this assessment, respondent-mother agreed to enter

     into a family services agreement pursuant to which she was required to comply with

     the recommendations made by the assessing agency, to refrain from consuming any

     medications not prescribed for her, to attend weekly Narcotics Anonymous meetings,

     and to submit to random drug screens. Similarly, respondent-father agreed to enter

     into a family services agreement, which required him to attend substance abuse

     classes, refrain from consuming unlawful substances, submit to random drug screens,
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     complete a batterer’s intervention program, and attend anger management classes.

     After entering into these family services agreements, respondent-mother was

     arrested on drug-related charges while respondent-father admitted that he had

     consumed marijuana and failed to start participating in the batterer’s intervention

     program. As a result, DSS filed a petition alleging that Tam was a neglected juvenile

     on 22 September 2016.2

¶8         After an adjudicatory hearing held on 18 November 2016, the trial court

     entered an order on 5 January 2017 finding that Tam was a neglected juvenile based

     upon the parents’ stipulation as to the accuracy of the allegations contained in the

     juvenile petition. In view of the parents’ further stipulation to the continuance of this

     case for disposition until a later time, the trial court entered an interim disposition

     order. This order provided that, while the parents retained custody of Tam, Tam

     would continue to reside in her safety placement and both parents would be awarded

     supervised visitation with her.

¶9         Following an initial dispositional hearing held on 31 January 2017, the trial

     court entered an order on 20 February 2017 in which it found as a fact that (1) the

     parents failed to submit to required drug screens on 19 December 2016; (2) the

     parents continued to deny that their relationship was characterized by domestic




           2 As a result of the fact that Tam was living in a safety placement, DSS did not take

     her into nonsecure custody.
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       violence and minimized the extent to which domestic violence had occurred between

       them; and (3) the parents continued to reside with each other and lacked sufficiently

       stable housing to permit them to assume responsibility for providing care for Tam.

       Moreover, the trial court found that respondent-mother (1) had been arrested on the

       basis of outstanding warrants on 22 November 2016, and (2) had yet to complete a

       psychiatric evaluation or participate in medication management, although she had

       attended substance abuse treatment group sessions.

¶ 10         The trial court further found that respondent-father was completing some

       aspects of his case plan, such as complying with the terms of his probation, but the

       trial court also found that he had not been attending his substance abuse group, he

       was not participating in individual therapy, and he had not yet obtained a medical

       evaluation. As a result, and with the parents’ consent, the trial court placed Tam in

       DSS custody, provided for supervised visitation between the parents and Tam, and

       ordered the parents to comply with the provisions of their case plans. After a

       permanency planning review hearing held on 6 December 2017, the trial court

       entered an order on 8 January 2018 establishing reunification as the primary

       permanent plan for Tam, with a secondary permanent plan of custody.

¶ 11         On 12 January 2018, DSS received a CPS report indicating that respondent-

       mother had recently given birth to Kam. According to the report, respondent-mother

       admitted to having used marijuana while she was pregnant with Kam and tested
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       positive for the presence of marijuana in September and December 2017. In addition,

       the report indicated that respondent-father tested positive for the presence of

       methamphetamine, cocaine, and marijuana in June 2017. A social worker assigned

       to investigate the report confirmed the validity of these allegations, with respondent-

       father having admitted that he had continued to use marijuana and had smoked

       marijuana on the day prior to his conversation with the investigating social worker.

¶ 12         On 16 January 2018, DSS filed a petition alleging that Kam was a neglected

       juvenile in which DSS recited the allegations set out in the earlier petition relating

       to Tam, the history of DSS’s efforts to work with the parents, and the information

       contained in the most recent CPS report. In addition, DSS alleged that the

       respondent-parents had threatened to sue DSS and that, after learning that Kam

       would not be discharged to their care, their “behaviors continued to escalate,” with

       respondent-mother having “grabbed” Kam, necessitating the assistance of hospital

       security personnel. Based upon the same concerns, DSS obtained the entry of an

       order allowing DSS to take Kam into nonsecure custody.

¶ 13         On 30 January 2018, the trial court held a permanency planning and review

       hearing regarding Tam. In an order entered on 22 February 2018, the trial court

       found that the conditions that had led to Tam’s removal from the parents’ custody

       continued to exist and that a return to their home would be contrary to Tam’s health

       and safety. In light of that determination, the trial court changed Tam’s secondary
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       permanent plan to adoption while leaving reunification as Tam’s primary permanent

       plan.

¶ 14           An adjudicatory hearing relating to the juvenile petition concerning Kam was

       held on 16 March 2018. After the parents stipulated to the validity of the allegations

       in the DSS petitions, the trial court entered an order on 2 April 2018 determining

       that Kam was a neglected juvenile. Since the parents consented to a continuance of

       the required dispositional hearing, the trial court entered an interim disposition

       order providing that Kam would remain in the custody of DSS; that the parents would

       continue to have supervised visitation; and that the parents should continue to

       submit to random drug screens, attend counseling, and complete the other services

       that had been recommended for them.

¶ 15           On 6 June 2018, permanency planning and review hearings were held with

       respect to both juveniles. In orders entered on 23 July 2018, the trial court noted that

       the parents had maintained sobriety and sanctioned unsupervised visitation between

       the parents and Tam and Kam. In addition, the trial court established a primary

       permanent plan for Kam of reunification with a secondary permanent plan of

       adoption. In orders entered on 24 September 2018, however, the trial court suspended

       the parents’ unsupervised visitation with the children and made their visitation

       supervised after the parents failed to satisfy the requirements of their case plans,

       such as inconsistencies in their attendance at various therapeutic activities and their
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       eviction from their home.

¶ 16         On 24 January 2019, the trial court entered permanency planning and review

       orders for both juveniles after a hearing held on 9 January 2019. In that order, the

       trial court found that the parents had been “doing well with their case plans and

       visitation with [Tam and Kam] until October 2018 when [DSS] learned of continued

       substance abuse issues and domestic violence between the respondent parents.”

       Furthermore, the trial court found that respondent-mother was not currently

       engaged in treatment or therapy of any kind and that respondent-father was not

       consistently engaged to satisfy the requirements of his case plan. Finally, the trial

       court noted that DSS had reported that respondent-mother had threatened DSS

       employees and that DSS was no longer comfortable supervising parental visits with

       the children except during normal business hours, when law enforcement assistance

       would be available. As a result, the trial court entered orders changing the permanent

       plans for both Tam and Kam to a primary plan of adoption, with a secondary

       permanent plan of guardianship and a tertiary permanent plan of reunification.

¶ 17         On 26 February 2019, DSS filed petitions in which it sought to terminate the

       parental rights of both parents pursuant to N.C.G.S. § 7B-1111(a)(1), (2), and (3). As

       a result of the fact that respondent-father’s whereabouts were unknown at the time

       that the termination petitions were filed, DSS served him by publication. On 15 May

       2019, respondent-father’s attorney moved to withdraw from his representation of
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       respondent-father in light of respondent-father’s failure to maintain contact with her.

       The trial court granted the attorney’s motion to withdraw at a continuance hearing

       held on 22 May 2019 and by an order entered on 7 June 2019. On 4 October 2019,

       respondent-father appeared before the trial court and the same counsel was re-

       appointed to represent him. On 22 January 2020, respondent-father’s counsel filed

       another withdrawal motion predicated upon respondent-father’s failure to maintain

       contact with his attorney coupled with the attorney’s lack of knowledge concerning

       respondent-father’s wishes and her resulting inability to properly represent

       respondent-father at the termination hearing.

¶ 18         The DSS termination petitions were heard on 30 and 31 January 2020. On 9

       March 2020, the trial court entered orders determining that respondent-mother’s

       parental rights in the children were subject to termination pursuant to N.C.G.S. § 7B-

       1111(a)(1) and (2). Respondent-father’s parental rights were subject to termination

       pursuant to N.C.G.S. § 7B-1111(a)(1), (2), and (3). In addition, the trial court

       concluded that the termination of the parents’ parental rights would be in the

       children’s best interests. As a result, the trial court terminated both parents’ parental

       rights in the children. The parents appealed to this Court from the trial court’s

       termination orders.

                                II.   Substantive Legal Issues

       A. Respondent-Father’s Appeal
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¶ 19         In his sole challenge to the trial court’s termination orders, respondent-father

       argues that the trial court erred by allowing his counsel to withdraw from

       representing him at the termination hearing. After a careful review of the record, we

       conclude that the trial court did not abuse its discretion in granting respondent-

       father’s appointed counsel’s motion to withdraw.

¶ 20         A trial court’s decision to grant or deny an attorney’s motion to withdraw is

       reviewed on appeal for an abuse of discretion. See Benton v. Mintz, 97 N.C. App. 583,

       587 (1990). “An ‘[a]buse of discretion results where the court’s ruling is manifestly

       unsupported by reason or is so arbitrary that it could not have been the result of a

       reasoned decision.’ ” In re T.L.H., 368 N.C. 101, 107 (2015) (alteration in original)

       (quoting State v. Hennis, 323 N.C. 279, 285 (1988)); see also White v. White, 312 N.C.

       770, 777 (1985) (“A ruling committed to a trial court’s discretion is to be accorded

       great deference and will be upset only upon a showing that it was so arbitrary that it

       could not have been the result of a reasoned decision.”). Thus, when appellate courts

       review for abuse of discretion, the inquiry is whether the ruling is unreachable by a

       reasoned decision, see White, 312 N.C. at 777, which necessarily requires appellate

       courts to consider broadly the circumstances which may render the ruling justifiable,

       see In re K.M.W., 376 N.C. 195, 217 (2020) (Morgan, J., dissenting) (recognizing that

       a trial court’s assessment of a motion to withdraw, even when involving a statutory

       right to counsel in a termination of parental rights proceeding, should not be reviewed
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       “in a vacuum,” but should include the “circumstances surrounding the termination of

       parental rights hearing.”).

¶ 21          Here, the trial court allowed respondent-father numerous opportunities to

       participate in the termination-of-parental-rights proceedings, protected respondent-

       father’s statutory right to appointed counsel, and acted well within its discretion to

       grant respondent-father’s attorney’s motion to withdraw.

¶ 22          The trial court first advised respondent-father of his responsibility to attend

       all trial court hearings and maintain communication with his court appointed

       attorney at the first appearance hearing on DSS’s juvenile petition of neglect for Tam

       held on 11 October 2016.3 Furthermore, the trial court advised respondent-father that

       if he failed to attend trial court hearings or failed to maintain communication with

       his attorney, his attorney “may ask and be permitted to withdraw as his attorney of

       record, and the case may proceed without him being represented by an attorney.”

¶ 23          Following DSS’s filing of the termination-of-parental-rights petition on 26

       February 2019, DSS made diligent efforts to locate respondent-father. In DSS’s

       affidavit of due diligence filed on 27 February 2019, DSS stated that it had made



              3 Again, in an order entered on 23 February 2018, the trial court documented that on

       16 January 2018 at the first appearance hearing on DSS’s nonsecure custody order for Kam,
       it had advised respondent-father a second time that it was “his responsibility to maintain
       contact with his appointed attorney and . . . to attend all [trial c]ourt hearings.” The trial
       court also advised respondent-father that if he did not maintain communication with his
       attorney or attend all trial court hearings, his attorney may “be permitted to withdraw . . .
       and the case may proceed without him being represented by an attorney.”
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       unsuccessful efforts to locate respondent-father at four previous addresses, that DSS

       had spoken with respondent-father and he stated that he could not provide his

       current whereabouts, that respondent-father did not answer any of DSS’s phone calls,

       that respondent-father was “actively attempting to conceal his residence from [DSS],”

       that respondent-father indicated that he did not want to receive mail, and that

       respondent-father’s whereabouts could not be ascertained. Respondent-father then

       failed to appear at the first appearance hearing on the termination-of-parental-rights

       petition held on 19 March 2019. The trial court found as a fact that respondent-

       father’s whereabouts were still unknown despite diligent efforts by DSS to locate him

       and ordered DSS to perfect service via publication pursuant to N.C.G.S. § 1-75.10(2),

       which DSS did on 8 May 2019. Sensitive to respondent-father’s statutory right to

       counsel, the trial court also ordered that respondent-father’s appointed-attorney from

       DSS’s juvenile neglect proceeding remain as the provisional court appointed attorney.

       See N.C.G.S. § 7B-602(a) (2019).

¶ 24         Shortly thereafter, respondent-father’s appointed attorney filed a motion to

       withdraw as counsel on 15 May 2019. In her motion to withdraw, respondent-father’s

       attorney stated that she could no longer represent him due to his failure to maintain

       contact and indicated that the trial court only appointed her as provisional counsel

       for the termination-of-parental-rights action because respondent-father had not

       appeared at the first appearance hearing. See N.C.G.S. § 7B-1101.1(a)(1). At the
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       continuance hearing for the termination-of-parental-rights petition held on 22 May

       2019, the trial court granted respondent-father’s attorney’s motion to withdraw.

       Respondent-father was not present. After respondent-father’s counsel was permitted

       to withdraw, respondent-father missed the subsequent continuance hearing for the

       termination-of-parental-rights petition held on 20 August 2019.

¶ 25         The trial court again appointed counsel for respondent-father when he

       appeared at the 4 October 2019 continuance hearing for the termination-of-parental-

       rights petition, the same attorney who had previously represented respondent-father,

       but who had been granted leave to withdraw as counsel only five months earlier due

       to respondent-father’s failure to maintain contact. The trial court advised respondent-

       father for a third time that it was “his responsibility to maintain contact with his

       appointed attorney and . . . to attend all [trial c]ourt hearings” and that if he failed to

       communicate or attend all trial court hearings, his attorney “may ask and be

       permitted to withdraw as his attorney of record, and the case may proceed without

       him being represented by an attorney.”

¶ 26         On 22 January 2020, respondent-father’s appointed counsel again filed a

       motion to withdraw as counsel stating that due to respondent-father’s failure to

       communicate, she was unable to know respondent-father’s wishes and represent him.

       Respondent-father’s appointed counsel made a good faith effort to serve the motion

       on respondent-father, notwithstanding his actively attempting to conceal his
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       residence and his statement to DSS that he did not want to receive mail. A notice of

       hearing was also filed with the motion, attempting to give respondent-father notice

       that the motion to withdraw would be heard 30 January 2020 at 9:00 a.m.

¶ 27         Respondent-father then failed to appear at the termination-of-parental-rights

       hearing held on 30 and 31 January 2020. As a pre-hearing matter on 30 January

       2020, the trial court addressed the motion to withdraw filed by respondent-father’s

       attorney, engaging in a colloquy with respondent-father’s attorney. Counsel for

       respondent-father informed the trial court that she had spoken to respondent-father

       that day and informed respondent-father that if he did not appear at the termination-

       of-parental-rights hearing, she “would need to withdraw and the case would proceed

       in his absence.” The attorney also stated that respondent-father did not object to his

       attorney’s withdrawal as counsel. The trial court then granted respondent-father’s

       attorney’s motion to withdraw.

¶ 28         In relying on K.M.W., the dissent asserts that the majority does not

       acknowledge that the trial court’s discretion only comes into play when the parent

       has been provided adequate notice of counsel’s intent to seek leave of court to

       withdraw and the trial court has adequately inquired into the basis for counsel’s

       withdrawal motion. 376 N.C. at 211. The dissent erroneously assumes that these

       circumstances do not exist in this case when in fact they do, as evidenced by the

       information on the record in the colloquy on the day of the termination-of-parental-
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       rights hearing, wherein the respondent-father’s counsel voluntarily provided a

       thorough explanation of the circumstances to the trial court and responded to the

       trial court’s sufficient inquiries.

¶ 29          Thus, the trial court acted well within its discretion when it granted

       respondent-father’s appointed attorney’s second motion to withdraw. The trial court

       advised respondent-father on three separate occasions that it was his responsibility

       to maintain contact with his attorney and attend all trial court hearings. The trial

       court ensured respondent-father was served by publication even though he concealed

       his whereabouts from DSS. Despite respondent-father’s whereabouts being unknown,

       the trial court ordered respondent-father’s appointed attorney from DSS’s juvenile

       neglect proceeding to remain as his provisional court appointed attorney. The trial

       court reappointed counsel when respondent-father appeared at the 4 October 2019

       continuance hearing, despite his absence from the first appearance hearing on the

       termination-of-parental-rights petition. The trial court also granted both of

       respondent-father’s motions to continue.

¶ 30          The dissent contends that the majority ignores the principle of stare decisis in

       its view of K.M.W. by adopting the K.M.W. dissent’s perspective. However, such cases

       as these are fact-specific and hence dependent on the unique facts of any given case.

       Respondent-father’s conduct is distinguishable in the present case from respondent’s

       conduct in K.M.W. and, when coupled with the respective counsel’s execution of their
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       responsibilities and the respective trial courts’ responses to the unique

       circumstances, the two cases and their respective outcomes are appropriately

       distinguishable as well. For example, in K.M.W., the respondent did appear at the

       termination-of-parental-rights hearing, thereby giving the trial court the opportunity

       to observe the statutory requirements of N.C.G.S. § 7B-1101.1(a1) (2019), and thus

       determine if respondent knowingly and voluntarily waived her statutory right to

       counsel. 376 N.C. at 201–02, 210. Here, respondent-father made no apparent effort

       to observe the trial court’s advisements to attend hearings, admitted he did not want

       to receive mail from DSS or other interested parties, and verbally consented to his

       attorney’s withdrawal as counsel. Therefore, we decline to extend K.M.W. to the facts

       before us.

¶ 31         If the holding of K.M.W. controlled this case, the result would cause further

       burdens on our already overburdened trial courts by imposing additional and

       unnecessary procedures regarding termination-of-parental-rights hearings. A

       parent, by repeatedly failing to communicate with appointed counsel, by failing to

       attend numerous hearings, and by admittedly avoiding receiving mail and other

       communications from DSS and other interested parties, could successfully

       manipulate the judicial system to seriously delay the termination of parental rights

       proceeding. Under K.M.W., the trial court would be required to halt a termination-of-

       parental-rights hearing, track down a parent, ensure the motion to withdraw was
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       properly served and inquire into the efforts made by counsel to contact the parent, all

       before allowing counsel to withdraw from representation. 376 N.C. at 210−11. And

       under these facts, trial courts would be obliged to re-appoint counsel for it all to begin

       again. These extensive and burdensome processes would impair judicial efficiency

       and drain already scarce judicial resources, while thwarting the over-arching North

       Carolina policy to find permanency for the juvenile at the earliest possible age. See

       N.C.G.S. § 7B-1100(2).

¶ 32         The trial court’s actions respected the sanctity of respondent-father’s statutory

       right to counsel, giving respondent-father every reasonable opportunity to participate

       in the termination-of-parental-rights proceeding and to be represented by appointed

       counsel. The trial court ensured that respondent-father had knowledge of his

       responsibility to communicate with counsel to enable him to retain representation.

       All the while, the trial court reasonably balanced and honored the purpose and policy

       of this State to promote finding permanency for the juvenile at the earliest possible

       age and to put the best interest of the juvenile first where there is a conflict with

       those of a parent. See N.C.G.S. § 7B-1100(2)−(3) (2019). Therefore, we conclude that

       the trial court did not abuse its discretion when it granted respondent-father’s

       attorney’s motion to withdraw.

       B. Respondent-Mother’s Appeal

¶ 33         Respondent-mother argues that the trial court abused its discretion by
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       determining that terminating her parental rights would be in the children’s best

       interests. A careful review of the record satisfies us that respondent-mother’s

       argument lacks merit.

¶ 34         The termination of parental rights is a two-stage process consisting of an

       adjudicatory stage and a dispositional stage. See N.C.G.S. §§ 7B-1109 to -1110 (2019).

       If, during the adjudicatory stage, the trial court finds grounds to terminate parental

       rights under N.C.G.S. § 7B-1111(a), the trial court proceeds to the dispositional stage

       where it must “determine whether terminating the parent’s rights is in the juvenile’s

       best interest” after considering the following criteria:

                    (1) The age of the juvenile.

                    (2) The likelihood of adoption of the juvenile.

                    (3) Whether the termination of parental rights will aid in
                        the accomplishment of the permanent plan for the
                        juvenile.

                    (4) The bond between the juvenile and the parent.

                    (5) The quality of the relationship between the juvenile
                        and the proposed adoptive parent, guardian,
                        custodian, or other permanent placement.

                    (6) Any relevant consideration.

       N.C.G.S. § 7B-1110(a).

¶ 35         “We review the trial court’s dispositional findings of fact to determine whether

       they are supported by competent evidence.” In re J.J.B., 374 N.C. 787, 793 (2020).
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       “The trial court’s assessment of a juvenile’s best interests at the dispositional stage

       is reviewed solely for abuse of discretion.” In re A.U.D., 373 N.C. 3, 6 (2019). “An

       ‘[a]buse of discretion results where the court’s ruling is manifestly unsupported by

       reason or is so arbitrary that it could not have been the result of a reasoned decision.’ ”

       In re T.L.H., 368 N.C. at 107 (alteration in original) (quoting State v. Hennis, 323

       N.C. 279, 285 (1988)).

¶ 36          Respondent-mother challenges the following dispositional findings of fact:

                     9. The minor child[ren]4 ha[ve] little bond with the
                     respondent mother.

                     ....

                     11. The respondent mother’s relationship with the minor
                     child[ren] is similar to that of a babysitter or family friend.

                     12. Respondent mother has failed to address her mental
                     health needs and that impacts her visits. Respondent
                     mother has been unable to be on time consistently to
                     visitation.

                     13. Respondent mother has been unable to control her
                     emotions at times during visitation requiring redirection.

                     ....

                     15. The children are manifesting behaviors after visitation
                     which show a negative impact of visitation upon them,
                     including nightmares and aggressive behavior [by Tam].

              4 “Minor child” is amended to read “minor children” since the trial court entered
       separate termination-of-parental-rights orders as to Tam and Kam and respondent-mother
       challenges the same findings of fact in each order. The findings of fact use the same language
       in each of the termination orders.
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                                          Opinion of the Court




                    ....

                    17. Exposure of the minor child[ren] to respondent
                    parents[’] continued relapses would not be in the best
                    interest[s] of the minor child[ren].

¶ 37         As an initial matter, respondent-mother argues that several of the trial court’s

       dispositional findings lack sufficient record support. First, respondent-mother argues

       that the record fails to support Finding of Fact Nos. 9 and 11. However, Finding of

       Fact Nos. 9 and 11 are supported by the testimony of a foster care social worker, who

       described the bond between respondent-mother and the juveniles as follows:

                    They know their mom. Her visits have been more
                    consistent. It is not a bond like they have with the foster
                    parents. They do recognize mom. When they visit with
                    mom they, you know, she does engage with them; they
                    engage with her, but there are times that the kids will lean
                    more towards the visitation coach or whoever is
                    supervising that visit for assistance, like maybe with a
                    diaper change or if they want a specific toy or something
                    like that, they often will go to the visitation coach for those
                    rather than mom.

¶ 38         In addition, the social worker agreed that the relationship between

       respondent-mother and the juveniles was more like that between a child and a friend

       or other relative than like that between a child and his or her parent. Finally, the

       guardian ad litem’s report, which was admitted into evidence at the termination

       hearing, described the bond between respondent-mother and the juveniles as
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                                           Opinion of the Court



       “nonexistent.” As a result, we hold that the record contains ample support for Finding

       of Fact Nos. 9 and 11.

¶ 39            Secondly, respondent-mother contends that the visitation logs that were

       introduced into evidence at the termination hearing fail to support the trial court’s

       statement in Finding of Fact No. 12. Since the visitation logs reflect that respondent-

       mother was unable to attend certain scheduled visits and arrived late on numerous

       occasions, we hold that respondent-mother’s challenge to Finding of Fact No. 12 lacks

       merit.

¶ 40            Thirdly, respondent-mother argues that the visitation logs, which reflect that

       the visitation coach gave her “high marks on her interactions with Kam and Tam,”

       conflict with Finding of Fact No. 13. However, the Visitation Observation Form

       relating to the 18 January 2019 visit reflects that, after respondent-mother spoke

       about “issues with work and family,” the visitation coach had to redirect respondent-

       mother’s attention to the juveniles and to ask respondent-mother to interact

       appropriately and positively with the children. According to the visitation coach,

       respondent-mother “seemed more focused on what was going on in her life” and

       “continued to talk about her own stressful situations during [the] visit,” leading the

       visitation coach to urge respondent-mother “not to talk about her own issues.”

¶ 41            Similarly, the visitation coach noted on 17 May 2019 that, while respondent-

       mother was “responsive and playful” at some points during the visit, at other times
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                                         Opinion of the Court



       respondent-mother “became angry and depressed” and stated, “I just wish I would

       die, I just don’t want to be here anymore.” The visitation coach stated that, rather

       than engaging respondent-mother about her concerns, she asked respondent-mother

       to focus upon the needs of the children. As a result, Finding of Fact No. 13, is

       supported by competent evidence.

¶ 42         Respondent-mother also argues that the record does not support the trial

       court’s Finding of Fact No. 15. The record is replete, however, with evidence

       supporting this component of the trial court’s findings. As an initial matter, we note

       that the guardian ad litem stated in her report that Tam “has always been very clingy

       after visitation, then she started becoming angry. She would kick, bite, and hit after

       coming home. Now she comes home afraid, wanting to be held and having

       nightmares.” In addition, the foster care social worker testified that, following their

       visits with the parents, “[t]he kids have been known to bang their head against the

       wall” and display “tantrum kind of behaviors.” As a result, the record contains ample

       support for the challenged portion of Finding of Fact No. 15.

¶ 43         Furthermore, respondent-mother argues that the trial court’s Finding of Fact

       No. 17 lacks sufficient support in the record. Once again, we disagree with

       respondent-mother’s contention. The children came into DSS care due, at least in

       part, to respondent-mother’s substance abuse. In support of its termination of

       respondent-mother’s parental rights, the trial court found that respondent-mother
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       had continued to use unlawful controlled substances such as methamphetamine,

       cocaine, and marijuana, while the children were in foster care. In addition, as we have

       previously noted, the record contains ample evidence tending to show that the

       children engaged in troubling behaviors following their visits with respondent-

       mother. Thus, we conclude the trial court did not err in making the challenged portion

       of Finding of Fact No. 17.

¶ 44         Next, respondent-mother contends that she had a strong bond with the

       children and that, even though that bond was not parental in nature, the trial court

       erred by effectively requiring her to have such a bond with the children as a

       precondition for avoiding the termination of her parental rights. According to

       respondent-mother, the trial court’s decision to criticize her bond with the children

       as not “being parental enough was disingenuous” given that she had few

       opportunities to act in a parental manner during her visits with the children.

       Respondent-mother claims that she “should not be penalized for separation from her

       children when evaluating parental skills” because she “did not have a reasonable

       opportunity to be [parental with the juveniles].” We are not persuaded by this

       argument.

¶ 45         The initial defect in respondent-mother’s argument is that, as we have already

       noted, the trial court found, with proper evidentiary support, that respondent-mother

       had “little bond” with the juveniles. Moreover, we agree with DSS and the guardian
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                                           Opinion of the Court



       ad litem that respondent-mother’s limited opportunity to play a parental role in the

       children’s lives while they were in foster care stemmed, at least in part, from her own

       relapses into substance abuse, the fact that she was often late for visits, and her

       inability to control her emotions during those visits. For these and other reasons, we

       cannot agree with respondent-mother’s contention that she bore no responsibility for

       the lack of bond with her children. Finally, the record fails to support respondent-

       mother’s claim that the trial court required her to show that she had a “parental

       bond” with the children as a precondition for avoiding the termination of her parental

       rights. As a result, we hold that the trial court did not commit any error of law in

       evaluating the nature and extent of respondent-mother’s bond with the children as

       required by N.C.G.S. § 7B-1110(a)(4).5

¶ 46          Next, respondent-mother contends that the trial court erred by failing to

       consider other dispositional alternatives, such as guardianship or placement with a

       relative or some other suitable person. We addressed a similar argument in In re

       Z.L.W., 372 N.C. 432, 438 (2019), in which the respondent-father argued that, “given

       the strong bond between him and” his children, “the trial court should have

       considered other dispositional alternatives, such as granting guardianship or custody




              5 As an aside, we reiterate our prior determination that “the bond between parent and

       child is just one of the factors to be considered under N.C.G.S. § 7B-1110(a), and the trial
       court is permitted to give greater weight to other factors.” In re Z.L.W., 372 N.C. 432, 437       (2019).
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       to the foster family, thereby leaving a legal avenue by which [the children] could

       maintain a relationship with their father.” In rejecting this argument, we stated that:

                    [w]hile the stated policy of the Juvenile Code is to prevent
                    “the unnecessary or inappropriate separation of juveniles
                    from their parents,” N.C.G.S. § 7B-100(4) (2017), we note
                    that “the best interests of the juvenile are of paramount
                    consideration by the court and . . . when it is not in the
                    juvenile’s best interest to be returned home, the juvenile
                    will be placed in a safe, permanent home within a
                    reasonable amount of time,” id. § 7B-100(5) (2017)
                    (emphasis added); see also In re Montgomery, 311 N.C. at
                    109 (emphasizing that “the fundamental principle
                    underlying North Carolina’s approach to controversies
                    involving child neglect and custody [is] that the best
                    interest of the child is the polar star”).

       Id. at 438 (alteration in original). Consequently, we held the trial court did not abuse

       its discretion by determining that termination, rather than guardianship or custody

       with a foster family, would be in the children’s best interests. Id.

¶ 47         Similarly, in this case, the trial court’s findings of fact demonstrate that it

       considered the dispositional factors set forth in N.C.G.S. § 7B-1110(a) and “performed

       a reasoned analysis weighing those factors.” In re Z.A.M., 374 N.C. 88, 101 (2020). As

       a result, “[b]ecause the trial court made sufficient dispositional findings and

       performed the proper analysis of the dispositional factors,” id., we conclude the trial

       court did not abuse its discretion by concluding that termination, rather than

       guardianship or custody, would be in Tam’s and Kam’s best interests.
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                                         Opinion of the Court



¶ 48         Finally, respondent-mother argues that the trial court abused its discretion by

       terminating her parental rights because, while returning custody of the juveniles to

       her would not be in their best interests, allowing them to maintain a relationship

       through continued visitation was in the juveniles’ best interests. Respondent-mother

       again cites the bond she had with the juveniles and claims they enjoyed their visits.

       However, the trial court found in unchallenged Findings of Fact Nos. 18, 19, and 20

       that the children’s permanent plan included adoption, that the likelihood that they

       would be adopted was high, and that terminating respondent-mother’s parental

       rights was necessary to accomplish the permanent plan for the children. In addition,

       we have already concluded that the trial court’s dispositional findings regarding her

       visitation and lack of a parental bond with the juveniles was supported by competent

       evidence. As a result, we hold that respondent-mother’s final argument lacks merit

       and that the trial court did not abuse its discretion in determining that terminating

       respondent-mother’s parental rights was in the children’s best interests.

                                      III.    Conclusion

¶ 49         Thus, for the reasons set forth above, we hold that the trial court did not abuse

       its discretion in granting respondent-father’s counsel’s motion to withdraw and the

       trial court did not abuse its discretion by determining that the termination of

       respondent-mother’s parental rights was in the children’s best interests. Accordingly,

       the trial court’s termination-of-parental-rights orders are affirmed.
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               Opinion of the Court



AFFIRMED.
             Justice ERVIN, concurring, in part, and dissenting, in part.


¶ 50         Although I concur with my colleagues’ determination that the trial court’s

       decision to terminate respondent-mother’s parental rights should be affirmed, I am

       unable to agree with their decision to uphold the termination of respondent-father’s

       parental rights and respectfully dissent from their decision to do so. Simply put, after

       carefully reviewing the record in light of recent, and clearly controlling, precedent

       from this Court, I feel compelled to conclude that the trial court erred by allowing

       respondent-father’s trial counsel to withdraw from her representation of respondent-

       father without ensuring that proper notice had been provided to respondent-father

       and without conducting a sufficient inquiry into either the reasons for the requested

       withdrawal or the extent to which respondent-father understood the implications of

       his counsel’s request. As a result, I concur in the Court’s decision, in part, and dissent

       from that decision, in part.

¶ 51         At the outset of the termination hearing which occurred on 30 and 31 January

       2020, the following proceedings occurred:

                    [DSS ATTORNEY]: Mr. Sheriff, if you could call out
                    [respondent-father].

                    THE COURT: Sheriff, if you would please call out
                    [respondent-father].

                    (Bailiff called out [respondent-father] to appear in court.)

                    THE COURT: Thank you. He does not appear present.
                    You’d like to rest on your Motion To Withdraw?
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       Ervin, J., concurring, in part, and dissenting, in part



[FATHER’S COUNSEL]: Your Honor, I would like to tell
the Court so it will be -- and I probably, if Your Honor can
sign that order, but I want to draft a more comprehensive
order that includes the findings of fact of what’s happened
today. I spoke to him. I explained that if he wasn’t here at
2:00 p.m. I would need to withdraw and the case would
proceed in his absence.

THE COURT: So you spoke to him today?

[FATHER’S COUNSEL]: Correct, like very briefly a short
time ago.     He understands that we’ve not spoken
substantively about the case and if he doesn’t show up
today I need to proceed on the Motion To Withdraw and he
does not object to that.

THE COURT: All right. I will grant your motion but I’ll
hold it for a proper order to withdraw. If I sign this one I
don’t want to have to do an amended so --

[FATHER’S COUNSEL]: Okay.

THE COURT: -- I want to get something more fully but I’ll
go ahead and grant that motion at this time.

[FATHER’S COUNSEL]: I’ll bring that tomorrow.

....

THE COURT: So let me put it to you this way, [counsel]. I
don’t want to stop not going through to this afternoon’s case
and so I’m more inclined to write in my own little bits on
this order and let that count and that way I can give it to
you right now and we’ll be ready to go; okay?

[FATHER’S COUNSEL]: Yes, ma’am.

THE COURT: All right. I'm just going to do it right now.
Thank you.

[FATHER’S COUNSEL]: Your Honor, the main thing I
wanted in it is that I had explained to the client that if he
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                           Ervin, J., concurring, in part, and dissenting, in part



                    didn’t show up today I would withdraw and they would
                    proceed in his absence and that he did not object to that
                    motion.

       In a subsequent written order granting respondent-father’s attorney’s withdrawal

       motion, the trial court found that:

                    [R]espondent-father has been in contact [with his
                    attorney], but provided no direction or substance.
                    [Respondent-father was] given [the opportunity] to show
                    up in [court for the morning and afternoon] sessions, and
                    opted to communicate no objection to [his counsel’s]
                    withdrawal.     [Respondent-father] was aware of [the
                    hearing to terminate his parental rights] and of [the]
                    hearing on [the] motion to withdraw.

¶ 52         “A parent whose rights are considered in a termination of parental rights

       proceeding must be provided with fundamentally fair procedures consistent with the

       Due Process Clause of the Fourteenth Amendment.” In re J.E.B., 376 N.C. 629, 2021-

       NCSC-2 (cleaned up). “In order to adequately protect a parent’s due process rights

       in a termination of parental rights proceeding, the General Assembly has created a

       statutory right to counsel for parents involved in termination proceedings.” In re

       K.M.W., 376 N.C. 195, 208 (2020). According to N.C.G.S. § 7B-1101.1(a) (2019), “[t]he

       parent [in a termination of parental rights proceeding] has the right to counsel, and

       to appointed counsel in cases of indigency, unless the parent waives the right.”

¶ 53         As this Court has previously stated, “[c]onsistently with the provisions of

       N.C.G.S. § 7B-1101.1(a1), Rule 16 of the General Rules of Practice prohibits an

       attorney from withdrawing from his or her representation of a client in the absence
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                            Ervin, J., concurring, in part, and dissenting, in part



       of ‘(1) justifiable cause, (2) reasonable notice to the client, and (3) the permission of

       the court.’ ”   In re K.M.W., 376 N.C. at 209.           “[B]efore allowing an attorney to

       withdraw or relieving an attorney from any obligation to actively participate in a

       termination of parental rights proceeding when the parent is absent from a hearing,

       the trial court must inquire into the efforts made by counsel to contact the parent in

       order to ensure that the parent’s rights are adequately protected.” Id. at 210.

¶ 54          A trial court’s decision to grant or deny an attorney’s withdrawal motion is

       reviewed on appeal using an abuse of discretion standard of review, id. at 209, with

       such an abuse of discretion having occurred only when the trial court’s ruling is “so

       arbitrary that it could not have been the result of a reasoned decision.” White v.

       White, 312 N.C. 770, 777 (1985). “However, this ‘general rule presupposes that an

       attorney’s withdrawal has been properly investigated and authorized by the court,’

       so that, ‘[w]here an attorney has given his client no prior notice of an intent to

       withdraw, the trial judge has no discretion.’ ” In re K.M.W., 376 N.C. at 209 (quoting

       Williams &amp; Michael, P.A. v. Kennamer, 71 N.C. App. 215, 217 (1984)).

¶ 55          I see no indication, after a careful examination of the record, that respondent-

       father was served with his attorney’s withdrawal motion prior to the hearing.

       Respondent-father’s attorney attempted to serve her withdrawal motion upon her

       client by mailing it to him at an address at which respondent-father had previously

       stated that he did not receive mail. Although respondent-father’s attorney told the
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                           Ervin, J., concurring, in part, and dissenting, in part



       trial court that she had spoken with her client and informed him that she intended

       to withdraw in the event that respondent-father failed to appear for the hearing, the

       attorney described her conversation with respondent-father as brief and indicated

       that it had occurred shortly before the termination hearing was scheduled to begin.

       In addition, the record does not reflect that the trial court made any inquiry

       concerning the nature and extent of the attorney’s efforts to serve the withdrawal

       motion upon respondent-father prior to the date of the hearing or into what efforts

       the attorney had made to ensure that respondent-father “understood the implications

       of the action that [counsel] proposed to take or to protect [respondent-father’s]

       statutory right to the assistance of counsel.” Id. at 211. As a result, I believe that

       the trial court erred by failing to ensure that respondent-father had received

       “reasonable notice” of the attorney’s withdrawal motion as required by N.C.G.S. § 7B-

       1101.1(a1) or by our decision in K.M.W. before allowing that motion.

¶ 56         In addition, even though respondent-father’s counsel informed the trial court

       at the termination hearing that her client did not object to the allowance of the

       withdrawal motion, I am not persuaded that any statement that respondent-father

       might have made to that effect amounted to a waiver of his statutory right to counsel.

       “Although parents eligible for the appointment of counsel in termination of parental

       rights proceedings may waive their right to counsel, they are entitled to do so only

       ‘after the court examines the parent and makes findings of fact sufficient to show that
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                           Ervin, J., concurring, in part, and dissenting, in part



       the waiver is knowing and voluntary.’ ” Id. at 209 (quoting N.C.G.S. § 7B-1101.1(a1)

       (2019)). Aside from the fact that the trial court was unable to make the required

       inquiry given respondent-father’s failure to appear at the termination hearing, I

       agree with respondent-father that, given that his alleged “consent” to the attorney’s

       withdrawal was obtained, at most, only a few hours before the hearing began and at

       a time when the record does not show that respondent-father had prior notice of the

       attorney’s intention to withdraw or had been adequately advised about the

       implications of this action, respondent-father was not provided with sufficient

       opportunity to make a reasoned decision concerning whether to waive his right to

       counsel. Id. (stating that “a waiver of counsel, generally speaking, requires a knowing

       and intentional relinquishment of that right”).

¶ 57         The Court does not clearly indicate whether its decision to reject respondent-

       father’s challenge to the trial court’s termination orders rests upon a determination

       that respondent-father waived his statutory right to counsel or that respondent-

       father forfeited that right.    To the extent that the Court’s decision rests upon

       forfeiture-related, rather than waiver-related, considerations, I am unable to agree

       with any such determination. As this Court recently stated:

                    in rare circumstances a defendant’s actions frustrate the
                    purpose of the right to counsel itself and prevent the trial
                    court from moving the case forward.               In such
                    circumstances, a defendant may be deemed to have
                    forfeited the right to counsel because, by his or her own
                    actions, the defendant has totally frustrated that right. If
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                    Ervin, J., concurring, in part, and dissenting, in part



             one purpose of the right to counsel is to “justify reliance on
             the outcome of the proceeding,” then totally frustrating the
             ability of the trial court to reach an outcome thwarts the
             purpose of the right to counsel.

State v. Simpkins, 373 N.C. 530, 536 (2020). In other words,

             [t]he trial court is not required to abide by the directive to
             engage in a colloquy regarding a knowing waiver where the
             litigant has forfeited his right to counsel by engaging in
             actions which totally undermine the purposes of the right
             itself by making representation impossible and seeking to
             prevent a trial from happening at all. However, a finding
             that a [parent] has forfeited the right to counsel has been
             restricted to situations involving egregious dilatory or
             abusive conduct on the part of the litigant.

In re K.M.W., 376 N.C. at 209 (cleaned up); see also State v. Blakeney, 245 N.C. App.

452, 461–62 (2016) (stating that “forfeiture has generally been limited to situations

involving ‘severe misconduct’ and specifically to cases in which the defendant engaged

in one or more of the following: (1) flagrant or extended delaying tactics, such as

repeatedly firing a series of attorneys; (2) offensive or abusive behavior, such as

threatening counsel, cursing, spitting, or disrupting proceedings in court; or (3)

refusal to acknowledge the trial court’s jurisdiction or participate in the judicial

process, or insistence on nonsensical and nonexistent legal ‘rights’ ”).      Although

respondent-father may have attempted to conceal his whereabouts and avoid service

in the course of this proceeding and although the trial court warned respondent-

father on at least two occasions that he was responsible for maintaining contact with

his appointed counsel and to attend the trial court’s hearings, with the potential
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                            Ervin, J., concurring, in part, and dissenting, in part



       consequence of any failure on his part to do so including the withdrawal of his trial

       counsel and the necessity for him to proceed without the assistance of counsel, I do

       not believe that respondent-father’s conduct, as described in the record, suffices to

       support a finding that respondent-father had forfeited the right to counsel and my

       colleagues do not explicitly make an argument to the contrary. While “[t]here is no

       bright-line definition of the degree of misconduct that would justify forfeiture of a

       [parent’s] right to counsel,” Blakeney, 245 N.C. App. at 461, a finding of “[f]orfeiture

       of counsel should[, as the Court of Appeals has stated,] be a court’s last resort,” State

       v. Wray, 206 N.C. App. 354, 360 (2010). After carefully examining the record, I am

       unable to agree with the majority that the conduct in which respondent-father

       engaged in this case constituted conduct that was “so egregious as to justify forfeiture

       of the right to counsel.” Simpkins, 373 N.C. at 540.

¶ 58         Aside from its failure to make any mention of the legal principles that control

       the resolution of issues like those that we have before us in this case, the Court’s

       decision is patently inconsistent with our very recent decision in K.M.W., in which we

       held that a “very limited inquiry undert[aken] [by the trial court] before allowing

       [counsel’s] withdrawal motion” constituted error and that, “even if the trial court did

       not err by allowing [the] withdrawal motion, it erred by allowing respondent-mother

       to represent herself at the termination hearing without making adequate inquiry into
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                     Ervin, J., concurring, in part, and dissenting, in part



the issue of whether she wished to appear pro se.” In re K.M.W., 376 N.C. at 211–12.

In reaching the first of these conclusions, we stated that:

                     A careful examination of the record that has been
             presented for our review in this case indicates that neither
             the certificate of service attached to [trial counsel’s]
             withdrawal motion nor any related correspondence shows
             that respondent-mother was served with a copy of the
             withdrawal motion prior to the date upon which [trial
             counsel] was allowed to withdraw. On the contrary, the
             certificate of service attached to [trial counsel’s]
             withdrawal motion appears to reflect that the only party
             upon whom that motion was served was DSS. Although
             [trial counsel] told the trial court that respondent-mother
             had “requested” that he withdraw from his representation
             of her and that he had “attempted to secure [respondent-
             mother’s] presence in court” at the time that his
             withdrawal motion was heard, the trial court does not
             appear to have made any inquiry into whether respondent-
             mother had been served with the withdrawal motion;
             whether [trial counsel] had informed respondent-mother
             that he intended to move to withdraw on that date; why
             respondent-mother had requested [trial counsel] to
             withdraw, including whether his withdrawal motion
             resulted from respondent-mother’s inability to pay for his
             services; and what efforts [trial counsel] had made to
             ensure     that    respondent-mother       understood     the
             implications of the action that he proposed to take or to
             protect her statutory right to the assistance of counsel. As
             a result, given the very limited inquiry that the trial court
             undertook before allowing [trial counsel’s] withdrawal
             motion, we conclude that the trial court erred by allowing
             that motion.

Id. at 211. In addition, we held that,

             even if the trial court did not err by allowing [trial
             counsel’s] withdrawal motion, it erred by allowing
             respondent-mother to represent herself at the termination
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                            Ervin, J., concurring, in part, and dissenting, in part



                    hearing without making adequate inquiry into the issue of
                    whether she wished to appear pro se. As the record clearly
                    reflects, the waiver of counsel form that respondent-mother
                    completed at the time that [her original trial counsel] was
                    allowed to withdraw from his representation of
                    respondent-mother in the termination proceeding was
                    intended to facilitate her employment of privately-retained
                    counsel and did not constitute a waiver of her right to any
                    and all counsel. On the contrary, a careful examination of
                    the waiver of counsel form that respondent-mother
                    completed reflects that respondent-mother checked the box
                    relating to a waiver of her right to court-appointed counsel
                    and did not check the box stating that “I do not want the
                    assistance of any lawyer. I understand that I have the
                    right to represent myself, and that is what I intend to do.”
                    For that reason, the record amply demonstrates that
                    respondent-mother had generally wished to be represented
                    by counsel, had been represented by counsel in the
                    termination proceeding until the allowance of [trial
                    counsel’s] withdrawal motion, and had never expressed the
                    intention of representing herself. In light of that set of
                    circumstances, we believe that the trial court had an
                    obligation to make inquiry of respondent-mother
                    concerning the issue of whether she wished to represent
                    herself at the time that she made her tardy appearance at
                    the termination hearing as required by N.C.G.S. § 7B-
                    1101.1(a1).

       Id. at 211–12.

¶ 59         Although the facts before the Court in this case are not, of course, completely

       identical to those at issue in K.M.W., the inquiry that the trial court conducted in this

       case is not materially different from the one that we found to be insufficient in K.M.W.

       After citing the dissenting opinion that was filed in K.M.W. rather than the analysis

       set out in the majority’s decision, my colleagues make a number of fact-based
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                     Ervin, J., concurring, in part, and dissenting, in part



arguments that misread our earlier decision and rest upon the same sorts of fact-

based arguments that we held to be insufficient to support the affirmance of the trial

court’s order in that case. For example, my colleagues emphasize the fact that DSS

made “diligent efforts to locate respondent-father” at earlier points during the history

of this proceeding and the fact that respondent-father made it difficult for DSS to

locate him. However, aside from the fact that similar difficulties existed in K.M.W.,

the operative issue for purposes of this case is the extent to which the trial court, at

the time that the withdrawal motion was made, conducted an adequate inquiry into

the notice that respondent-father had received in advance of his counsel’s request for

leave to withdraw rather than whether respondent-father had been difficult to deal

with earlier in the proceeding.         Similarly, although my colleagues state that

respondent-father’s counsel “made a good faith effort to serve the [withdrawal]

motion on respondent-father,” they do not point to anything in the record that tends

to support this particular assertion and appear to overlook the fact that the record

does, as I have already noted, reflect that respondent-father’s counsel sent the

withdrawal motion to an address at which respondent-father had previously

indicated that he did not receive mail. In addition, my colleagues emphasize the fact

that respondent-father’s counsel talked to respondent-father shortly before the time

at which the withdrawal motion was heard and told him that she would seek to

withdraw from representing respondent-father despite the fact that a similar set of
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                            Ervin, J., concurring, in part, and dissenting, in part



       facts was addressed and found to be insufficient to support an affirmance in K.M.W.

       Finally, the Court states that this case is distinguishable from K.M.W. because

       respondent-father, unlike the respondent-mother in K.M.W., did not attend any part

       of the hearing and could not, for that reason, have been questioned about the extent

       to which he knowingly and voluntarily waived his right to the assistance of counsel

       even though our opinion in K.M.W. clearly indicates that the trial court’s failure to

       question respondent-mother when she arrived in the hearing room was an entirely

       separate error from the trial court’s failure to conduct an adequate inquiry into the

       issue of whether respondent-mother’s counsel should have been allowed to withdraw

       in the first place. As a result, there are no material differences between the facts in

       this case and those that were before us in K.M.W.

¶ 60         Finally, although my colleagues are correct in pointing out that the standard

       of review that is usually applicable in connection with appellate challenges to the

       allowance of withdrawal motions involves an inquiry into the issue of whether the

       trial court abused its discretion in allowing counsel to withdraw, they err to the extent

       that they treat this standard of review as the only one applicable in this case.

       Although the extent to which the trial court erred by allowing respondent-father’s

       counsel to withdraw would have been subject to review on the basis of an abuse of

       discretion standard in the event that an adequate inquiry had been conducted into

       the issue of whether respondent-father had been properly notified of his counsel’s
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                            Ervin, J., concurring, in part, and dissenting, in part



       request to withdraw, such a standard does not apply when the relevant issue is the

       extent to which the trial court conducted an adequate inquiry into the notice issue.

       The difference between the standards of review that apply with respect to these two

       distinct issues is clearly set out in K.M.W., which my colleagues have, once again,

       simply failed to follow.

¶ 61          At the end of the day, I am unable to discern how our decision in this case can

       be squared with basic principles of stare decisis, pursuant to which those who

       disagree with an earlier decision are expected to continue to adhere to it unless and

       until it is overruled. See State v. Straing, 342 N.C. 623, 627 n.1 (stating that,

       “[a]lthough the author of this opinion still believes that [a former decision of this

       Court] was wrongly decided, he is now required by stare decisis to apply that

       precedent in the case sub judice”); Hill v. Atlantic &amp; N.C. R. Co., 143 N.C. 539, 574
       (1906) (stating that “[w]hat our present opinion may be, as to the merits of the

       decision in [a certain] case, is now of no consequence whatsoever” given that, “[i]n

       construing statutes, and the Constitution, the rule is almost universal to adhere to

       the doctrine of stare decisis”). As a result of its failure to adequately explain how the

       decision that it makes today can be squared with K.M.W., it is difficult to avoid the

       conclusion that the Court has no basis for failing to rely upon our decision in that

       case other than the fact that my colleagues disagree with it. Moreover, even though

       “[t]he doctrine of stare decisis will not be applied . . . to preserve and perpetuate error
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                            Ervin, J., concurring, in part, and dissenting, in part



       and grievous wrong,” State v. Ballance, 229 N.C. 764, 767 (1949), the Court has not

       made any attempt to establish how K.M.W. works such a “grievous wrong” that we

       should refuse to give it precedential effect. Such a disregard for precedent risks

       undermining the stability of North Carolina law.

¶ 62         At a deeper level, my colleagues appear to rest their decision to uphold the

       termination of respondent-father’s parental rights on the basis of concerns that the

       decision that I believe to be appropriate “would cause further burdens on our already

       overburdened trial courts by imposing additional and unnecessary procedures

       regarding termination of parental rights hearings” and “thwart[ ] the over-arching

       North Carolina policy to find permanency for the juvenile at the earliest possible

       time.” Aside from the fact that the principles that underlie the decision that I believe

       to be appropriate rest upon statutory provisions, judicial decisions, and portions of

       the General Rule of Practice that have been in effect for a considerable period of time,

       the number of reported cases relating to the waiver or forfeiture of counsel in

       termination cases is relatively small, a fact that suggests that my colleagues’ concern

       for the efficiency with which termination cases will be handled in the future is

       substantially overstated. Simply put, while I acknowledge the difficulties that our

       colleagues on the trial bench face every day, the result that I believe to be appropriate

       in this case is solidly grounded in well-established North Carolina law, cannot be

       fairly accused of introducing any novelty into our termination of parental rights
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                            Ervin, J., concurring, in part, and dissenting, in part



       jurisprudence, does not involve any sort of extension of K.M.W., and will not impose

       any undue burden upon our trial courts.

¶ 63         Secondly, and more importantly, the statutory provisions that govern this case

       are intended to serve a number of policy goals in addition to achieving permanence

       “within a reasonable amount of time” by placing a child up for adoption. N.C.G.S.

       § 7B-100(5). Aside from the fact that nothing contained in N.C.G.S. § 7B-100(5)

       creates any sort of presumption in favor of terminating a parent’s parental rights and

       the fact that the decision to place the burden of proof with respect to the issue of

       whether grounds for termination exist in a particular case upon the party seeking to

       achieve that result suggests that the opposite is, in fact true, N.C.G.S. § 7B-1111(b),

       the relevant provisions of our Juvenile Code are also intended to “assure fairness and

       equity” and “protect the constitutional rights of juveniles and parents,” N.C.G.S. § 7B-

       100(1), and to “prevent[ ] the unnecessary or inappropriate separation of juveniles

       from their parents.” N.C.G.S. § 7B-100(4). In other words, the policy that is sought

       to be achieved by means of the relevant statutory provisions, including those

       providing parents with the right to the assistance of counsel, does not consist of the

       achievement of a particular result. Instead, the relevant statutory provisions are

       intended to ensure that all affected parties have an adequate opportunity to be heard

       with respect to the issue of what is in the best interests of the child. As a result, given

       that the decision that the Court has reached in this case is inconsistent with
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                    Ervin, J., concurring, in part, and dissenting, in part



controlling decisions of this Court and rests upon a mistaken view of the proper

purpose of a termination of parental rights proceeding, I would hold that, while its

termination order should be affirmed with respect to respondent-mother, the trial

court erred by allowing respondent-father’s trial counsel to withdraw from her

representation of respondent-father and that this case should be remanded to the

District Court, Buncombe County, for further proceedings not inconsistent with this

opinion, including a new termination hearing concerning respondent-father’s

parental rights.

      Justices HUDSON and EARLS join in this concurring and dissenting opinion.
